EXHIBIT B
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                                                       PERSONAL GUARANTY

            By signing below, you certify that you are the guarantor (the “Guarantor”) of all indebtedness, liabilities
            and obligations of the Business to Amazon under the loan agreement (“Loan Agreement”) between
            Amazon Capital Services, Inc. ("we", "us" or "our") and Better Linen & Bath, Inc. (the “Business”),
            whether presently existing or hereafter arising (the “Guaranteed Obligations”), that you authorize this
            Personal Guaranty, and that you agree to the Consent to Electronic Communications as set forth in the
            Loan Agreement as the Guarantor.

            The Guarantor unconditionally and irrevocably guarantees the Guaranteed Obligations, together with all
            expenses we incur relating to collection of the Guaranteed Obligations, including reasonable attorneys'
            fees.

            The Guarantor understands that we may proceed directly against the Guarantor without first exhausting
            our remedies against the Business or any other person or any security held by us or any guarantor, and
            that this Personal Guaranty will not be affected by failure by us to enforce any rights or remedies we
            may have against the Business.

            The Guarantor waives (i) all defenses of the Business pertaining to the duties and obligations of the
            Business (including discharge in bankruptcy), any evidence thereof, and any security therefore, except
            the defense of discharge by payment; (ii) all defenses of a surety to which the Guarantor may be entitled
            by statute or otherwise; (iii) notice of acceptance of this Personal Guaranty and of the creation and
            existence of the duties and obligations of the Guarantor hereunder; (iv) presentment, demand for
            payment, notice of dishonor, notice of non-payment, and protest of any instrument evidencing the
            duties and obligations of the Business; (v) all other demands and notices to the Guarantor or any other
            person and all other actions to establish the liability of the Guarantor; and (vi) the right to trial by jury in
            any action in connection with this Personal Guaranty.

            The Guarantor further waives notice of (a) our acceptance of this Personal Guaranty or our intention to
            act or our actions in reliance hereon; (b) the present existence or future incurring of any Guaranteed
            Obligations or any terms or amounts thereof or any change therein; (c) any default by Business or any
            surety or guarantor; (d) the obtaining of any additional guaranty or surety agreement; (e) the obtaining
            of any pledge, assignment or other security for any Guaranteed Obligations; (f) the release of any surety
            or guarantor; (g) the release of any collateral; (h) any change in the business or financial condition of the
            Business; (i) any renewal, extension or modification of the terms of any Guaranteed Obligation or of the
            obligations or liabilities of any surety or guarantor or any instruments or agreements evidencing the
            same; (j) any of our acts or omissions consented to herein; and (k) any other demands or notices
            whatsoever with respect to the Guaranteed Obligations or this Personal Guaranty.

            Any indebtedness the Business may owe to the Guarantor is hereby subordinated to the payment of the
            Guaranteed Obligations. The Guarantor agrees that after any default by the Business under the Loan
            Agreement, it will hold any funds received from the Business in trust for us to satisfy the obligations of
            the Business to us under the Loan Agreement, and will promptly pay those funds to us. Until the
            Guaranteed Obligations are fully satisfied, Guarantor waives all rights of subrogation, contribution,
            indemnification, exoneration, or reimbursement the Guarantor may have against the Business arising
            from the existence of this Personal Guaranty.
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            Nothing, except full payment and discharge of all of the Guarantor’s duties and obligations to us, which
            but for this provision could act as a release or impairment of the liability of the Guarantor, will in any
            way release, impair, or affect the liability of the Guarantor. The Guarantor hereby consents that we may
            without further consent or disclosure and without affecting or releasing the obligations of Guarantor
            hereunder: (a) surrender, exchange, release, assign, or sell any collateral or waive, release, assign, sell,
            or subordinate any security interest; (b) waive or delay the exercise of any of our rights or remedies
            against the Business; (c) waive or delay the exercise of any our rights or remedies in respect of any
            collateral or security interest now or hereafter held; (d) renew, extend, waive or modify the terms of any
            obligation, or any instrument or agreement evidencing the same; (e) renew, extend, waive or modify the
            terms of any security document; (f) apply payments received from the Business or any surety or
            guarantor or from any collateral, to any indebtedness, liability, or obligations of the Business or such
            sureties or guarantors whether or not a Guaranteed Obligation hereunder; and (g) realize on any
            security interest, judicially or nonjudicially, with or without preservation of a deficiency judgment.

            This Personal Guaranty will not be discharged or affected by the death of the Guarantor, will bind all
            heirs, administrators, representatives, and assigns, and may be enforced by or for the benefit of any
            successors in interest to us. The Guarantor may not assign or otherwise transfer all or any part of its
            rights or obligations hereunder.



            By:
            Name: Benzion Lebowitz
            Title:   Director
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            Date:
